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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


IN RE: KHALID SHAIKH MOHAMMAD


                                           ORDER

       The Court confirms that on September 24, 2020, the Court appointed the Federal Public

Defender for the Central District of California as counsel for the Guantanamo detainee Khalid

Shaikh Mohammad, to file a habeas petition on the detainee’s behalf.




DATED: November 15 , 2022                 ______________________________________
                                          BERYL A. HOWELL
                                          CHIEF UNITED STATES DISTRICT COURT JUDGE
